                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE

    CANAL INSURANCE COMPANY,          )
                                      )
          Plaintiff,                  )
                                      )
    vs.                               )               No. 3:13-CV-00447
                                      )
    MOORE FREIGHT SERVICES, INC., )
    PATTY C. WILSON, individually and )
    as administrator of the ESTATE OF )
    JERRY WILSON, HOSPITALITY         )
    PROPERTIES TRUST d/b/a            )
    TRAVELCENTERS OF AMERICA,         )
    TRAVELCENTERS OF AMERICA,         )
    LLC, TRESTON WESLEY HARRIS,       )
    EASTBRIDGE TRAILERS, and          )
    UTILITY TRAILER MANUFACTURING )
    COMPANY,                          )
                                      )
          Defendants.                 )


                                         STIPULATION


                It is hereby stipulated and agreed by and between all counsel of record

    that:

                1)    TA Operating LLC is substituted for Hospitality Properties Trust

    d/b/a Travelcenters of America and Travelcenters of America, LLC.

                2)    Hospitality Properties Trust d/b/a Travelcenters of America and

    Travelcenters of America, LLC are dismissed without prejudice from the instant

    action.

                3)    It is stipulated that TA Operating LLC operated the truck service

    facility at the Travelcenters of America site in Lamar, Pennsylvania on October

    17, 2011.


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                4)   To correct the identification of the proper party, TA Operating LLC,

    the parties agree that the caption of record should be changed as follows:

                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE

    Canal Insurance Company,

                     Plaintiff,

    v.                                          Case No. 3:13-CV-00447

    Moore Freight Services, Inc.,
    Patty C. Wilson, individually and
    As administrator of the Estate of
    Jerry Wilson, TA Operating LLC,
    Treston Wesley Harris, Eastbridge
    Trailers, and Utility Trailer
    Manufacturing Company,

                     Defendants

                                         Respectfully submitted,

                                         RAINEY, KIZER, REVIERE & BELL, P.L.C.

                                  By:    __s/ R. Dale Thomas____________________
                                         R. DALE THOMAS, #13439
                                         Attorney for Plaintiff Canal Insurance Company
                                         209 E. Main St.
                                         P. O. Box 1147
                                         Jackson, TN 38302-1147
                                         (731) 423-2414


                                         RAWLE & HENDERSON LLP

                                  By:    __s/ Melissa R. Knoerzer_________________
                                         MAUREEN E. DALEY
                                         MELISSA R. KNOERZER
                                         Attorneys for TA Operating LLC and Treston
                                         Wesley Harris
                                         The Widener Building
                                         One South Penn Street
                                         Philadelphia, PA 19107



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                                   CERTIFICATE OF SERVICE

           The undersigned certifies that a true copy of this pleading or document
    was served upon counsel for each of the parties by mailing postage prepaid or by
    delivery to the person or office of such counsel.

                Utility Trailer Manufacturing Company
                c/o Registered Agent for Service of Process
                Paul F. Bennett
                17295 E. Railroad St.
                City of Industry, CA 91748

                Patty C. Wilson, Indiv. and as Admin. of the Estate of Jerry Wilson
                1948 Twin Ponds Drives
                Hickory, NC 28601

                Moore Freight Services, Inc.
                c/o Registered Agent for Service of Process
                Dan R. Moore
                2000 Eastbridge Pkwy.
                Mascot, TN 37806-1500

                Eastbridge Trailers
                c/o Agent for Service of Process
                Dan R. Moore or Steve Sparks
                2000 Eastbridge Pkwy.
                Mascot, TN 37806-1500

                This the 3rd day of September, 2013.


                                                         __s/ R. Dale Thomas_________




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